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                         UNITED STATES DISTRICT COURT

                                  DISTRICT OF MINNESOTA


Roderick Williams,
                                                Court File No.
                                                Case Type: Employment
                     Plaintiff,

v.                                               NOTICE OF REMOVAL PURSUANT
                                                      TO 28 U.S.C. § 1446(a)
KIPP Minnesota,

                     Defendant.


TO:     The United States District Court for the District of Minnesota, and Plaintiff
        Roderick Williams through his attorney Eric Satre, Satre Law Firm, International
        Plaza, 7900 International Drive, Suite 300, Bloomington, MN 55425.

        Defendant KIPP Minnesota, through its attorneys John P. Edison and Dalia N.

Istephanous, Squires, Waldspurger & Mace, P.A., 333 South Seventh Street, Suite 2800,

Minneapolis, MN 55402, hereby petition the Court for the removal of this action from the

District Court of the State of Minnesota, County of Hennepin, Fourth Judicial District, to

the United States District Court for the District of Minnesota, Fourth Division pursuant to

28 U.S.C. § 1441 and § 1446. The Petitioner respectfully asserts to this Honorable Court

that:

1.      Defendant in the above-entitled action is the Defendant in a civil action brought

against it in the District Court for the State of Minnesota, County of Hennepin, in a case

Roderick Williams v. KIPP Minnesota.




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2.     A true and correct copy of the Summons and Complaint (“Complaint”), dated May

1, 2023 in that action is attached as Exhibit A. The Complaint included only claims based

on Minnesota law.

3.     In lieu of serving an answer, Defendant served a motion to dismiss all claims in

the Complaint pursuant to Rule 12.02(e) of the Minnesota Rules of Civil Procedure. A

true and correct copy of the Defendant’s motion to dismiss, dated May 23, 2023, along

with proof of service regarding the same, is attached hereto as Exhibit B.

4.     On June 28, 2023, Plaintiff served an amended complaint (“Amended Complaint”)

pursuant to Rule 15.01 of the Minnesota Rules of Civil Procedure. The Amended

Complaint changed the claims asserted by Plaintiff in this lawsuit. Most notably, the

claim asserted in Count I was changed from a race discrimination claim under the

Minnesota Human Rights Act (Minn. Stat. § 365A.01 et seq.) to a race discrimination

claim under 42 U.S.C. § 1981 (“Section 1981”). A true and correct copy of the Amended

Complaint is attached as Exhibit C. The Amended Complaint asserted a claim based on

federal law for the first time.

5.     The Defendant’s Answer to the Amended Complaint, along with proof of service,

was served on Plaintiff on July 23, 2023, and will be filed separately from this Notice of

Removal.

6.     As set forth above, Plaintiff asserts for the first time in the Amended Complaint

that he has a cause of action under Section 1981.




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7.     The new Section 1981 claim in the Amended Complaint could have been brought

originally in federal court under the original jurisdiction statute 28 U.S.C. § 1331 because

of the federal question that has been asserted via Plaintiff’s Section 1981 claim.

8.     Pursuant to 28 U.S.C. § 1367, this Court may exercise supplemental jurisdiction

over the remaining claims in Plaintiff’s Amended Complaint because they arise out of the

same case or controversy as the claims over which this Court has original Jurisdiction.

9.     The documents attached as Exhibits A through C constitute all process, pleadings,

and orders served upon the Defendant in the above matter.

10.    Along with the filing of this Notice, notice has contemporaneously been provided

to Plaintiff through his attorney and the Hennepin County, Minnesota District Court

Clerk, pursuant to 28 U.S.C. § 1446(d).

11.    Defendant respectfully submits that removal of this action is proper and that this

Court has jurisdiction to adjudicate the dispute between the parties in this case.

       WHEREFORE, Petitioner moves that this case proceed to this Court, the United

States District Court for the District of Minnesota, Fourth Division as an action properly

removed thereto.




                            [SIGNATURE PAGE FOLLOWS]




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                                        SQUIRES, WALDSPURGER &
                                        MACE P.A.

Dated: July 24, 2023                    By: s/John P. Edison
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